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         MICHAEL CHASTAINE, State Bar #121209
     1   THE CHASTAINE LAW OFFICE
         101 Parkshore Drive, Suite 100
     2   Folsom, CA 95630
         Telephone: 916-732-7150
     3
         Attorney for Defendant
     4
         Peter Kuzmenko
     5
     6                       IN THE UNITED STATES DISTRICT COURT
     7                     FOR THE EASTERN DISTRICT OF CALIFORNIA
     8
     9                                             ) Case No.: 11 CR 210 JAM
         UNITED STATES OF AMERICA,                 )
    10                                             ) WAIVER OF DEFENDANT’S
                      Plaintiff,                   ) PRESENCE
    11                                             )
                v.                                 )
    12                                             )
         PETER KUZMENKO.,                          )
    13                                             )
                      Defendants.                  )
    14
    15
                Pursuant to Rule 43 of the Federal Rules of Criminal Procedure, the
    16
         defendant, PETER KUZMENKO, hereby waives the right to be present in person
    17
         in open court upon the hearing of any motion or other proceeding in this case,
    18
         including, but not limited to, when the case is set for trial, when a continuance is
    19
         ordered, and when any other action is taken by the court before or after trial, except
    20
         upon arraignment, plea, impanelment of jury and imposition of sentence.
    21
         Defendant hereby requests the Court to proceed during every absence of him
    22
         which the Court may permit pursuant to this waiver; agrees that him interests will
    23
         be deemed represented at all times by the presence of him attorney, the same as if
    24
    25
         defendant were personally present; and further agrees to be present in court ready

    26   for trial any day and hour the Court may fix in his absence.

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     1          Defendant further acknowledges that he has been informed of his rights
     2   under Title 18 U.S.C. §§3161-3174 (Speedy Trial Act), and authorizes his attorney
     3   to set times and delays under that Act without defendant being present.
     4
     5   Dated: July 6, 2012                     ___/s/Peter Kuzmenko______________
     6                                                 Peter Kuzmenko
     7                                                 (Original retained by Attorney.)
     8
     9   I agree with and consent to my client’s waiver of appearance.
    10
    11
         Dated: July 6, 2012                           Michael Chastaine /s/_______
    12
                                                       Michael Chastaine
    13
                                                       Attorney for Peter Kuzmenko
    14
    15
         It is so order
    16
    17
         Dated: 7/9/2012                               / John A. Mendez_______
    18                                                 John A. Mendez
    19                                                 U. S. District Court Judge
    20
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